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                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
NORTHWEST IMMIGRANT RIGHTS           )
PROJECT,                             )
                                     )
                  Plaintiff,         )
                                     )
            v.                       )     Civil Action No. 1:19-cv-3283 (RDM)
                                     )
UNITED STATES CITIZENSHIP AND        )
IMMIGRATION SERVICES,                )
                                     )
                  Defendant.         )
____________________________________)

        DEFENDANT’S MEMORANDUM OF POINTS AND AUTHORITIES
   IN SUPPORT OF ITS MOTION TO DISMISS OR, IN THE ALTERNATIVE, FOR
  SUMMARY JUDGMENT, AND IN OPPOSITION TO PLAINTIFF’S MOTION FOR
                        SUMMARY JUDGMENT
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                                        INTRODUCTION

        Fee waivers for immigration adjudication and naturalization services are not prescribed in

any statutory provision. Rather, Congress has authorized the Department of Homeland Security

(DHS) to set such fees at a level that will recover the costs of providing some services at no cost

to some applicants. 8 U.S.C. § 1356(m). By regulation, DHS has provided, on a discretionary

basis, fee waivers for certain services, subject to only two conditions: (1) the applicant is “unable

to pay” the fee; and (2) a “waiver based on inability to pay is consistent with the status or

benefit . . . .” 8 C.F.R. § 103.7(c)(1). DHS also requires that waiver requests be in writing and

state the reasons for and provide evidence in support of the claim of inability to pay. Id. at

§ 103.7(c)(2).

        Prior to 2010, U.S. Citizenship and Immigration Services (USCIS) and its predecessor

offices exercised this discretionary authority by accepting and holistically reviewing ad hoc written

waiver requests.    But in 2010, USCIS streamlined the fee waiver adjudication process,

implementing a new form for submitting requests: the Form I-912 (Form). The Form instructions

detailed three types of evidence of inability to pay that USCIS would accept: (1) evidence of

receipt of a means-tested benefit; (2) evidence of household income at or below 150% of the

Federal Poverty Guidelines (FPG); or (3) evidence of financial hardship. See Form I-912, Request

for Fee Waiver Instructions (Sept. 24, 2010), AR36–42. The instructions also stated that USCIS

would still consider ad hoc written requests. The implementation of the Form I-912 represented

the first time USCIS accepted evidence of receipt of a means-tested benefit as per se evidence of

inability to pay.

        In the first six years that USCIS accepted evidence of receipt of a means-tested benefit to

demonstrate inability to pay, the estimated annual revenue forgone due to fee waivers and




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exemptions more than tripled, despite coinciding with a period of sustained economic growth.

This was especially concerning for two reasons: (1) because the agency would have to raise other

fees to compensate for the forgone revenue, and (2) because, since 1988, fees have served as the

primary funding source for USCIS and are intended to cover the agency’s operations fully. While

a number of factors may have contributed to the increase, USCIS determined that it must stem the

tide. Thus, in 2018, USCIS, in its discretion, undertook to revise the Form I-912 and its

instructions to curtail the rising costs of fee waivers, reduce disparate treatment of similarly

situated applicants, ameliorate concerns about the integrity of the fee waiver program, and improve

the quality and consistency of fee waiver adjudications. The revisions include: (1) eliminating

acceptance of evidence of receipt of a means-tested benefit as per se evidence of inability to pay;

(2) requiring income-based applicants to submit an Internal Revenue Service (IRS) tax transcript

as evidence of income; and (3) requiring applicants to use the Form I-912 rather than another

written format. Applicants may still submit fee waiver requests based on financial hardship.

       Notwithstanding that the statute and regulations afford USCIS significant discretion over

whether and how to grant fee waivers, and that USCIS stated the reasonable basis for the Form

revisions it implemented, Plaintiff—an organization that provides legal and other services to

immigrants—now challenges the revisions. That challenge fails to meet basic jurisdictional

requirements and should be rejected. First, Plaintiff—who has not included as a party or even

identified a single applicant for immigration adjudication and naturalization services or for a fee

waiver affected by the Form revisions—cannot demonstrate harm; to the contrary, the only effect

felt by Plaintiff from USCIS’s action is the continued obligation to do its job: assisting immigrants

in navigating the ever-evolving immigration and naturalization process.             Without direct,

cognizable harm, Plaintiff’s lawsuit should be dismissed. Moreover, Plaintiff is outside the “zone




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of interests” protected by the underlying statute and regulations. Plaintiff’s challenge to revisions

USCIS made to its Policy Manual to coincide with the Form revisions should be dismissed because

those revisions do not constitute final agency action reviewable under the Administrative

Procedure Act (APA). Plaintiff’s Paperwork Reduction Act challenge should be dismissed

because that statute does not confer a private right of action. And Plaintiff’s claims under the APA

fail on the merits because USCIS’s revisions of Form I-912 were procedurally proper, and are both

reasonable and consistent with the regulation the agency implements.

       Although Plaintiff disagrees with the manner in which USCIS exercised its discretion, it

does not have standing to challenge what was a lawful exercise of agency discretion. Accordingly,

Plaintiff’s lawsuit should be dismissed. In the alternative, Defendant’s cross-motion for summary

judgment should be granted.

                                        BACKGROUND

  I.   Statutory and Regulatory Background

       The Immigration Examinations Fee Account (IEFA) is the primary funding source of

USCIS, a DHS component agency charged with receiving and processing (adjudicating) requests

for lawful immigration to the United States. See Pub. L. No. 100-459 § 209, 102 Stat. 2186 (1988)

(codified as amended in the Immigration and Nationality Act (INA) § 286(m)–(n), 8 U.S.C.

§ 1356(m)-(n)) (hereinafter “USCIS fee statute”). Fees for providing immigration adjudication

and naturalization services are deposited into the IEFA and used to fund the provision of all such

services, including services provided to asylum applicants and other immigrants at no charge. See

Pub. L. No. 101-515, § 210(d)(1)–(2), 104 Stat. 2101 (1990).

       The USCIS fee statute does not specifically mention fee waivers. See 8 U.S.C. § 1356(m).

However, the statute directs that “fees for providing adjudication and naturalization services may




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be set at a level that will ensure recovery of the full costs of providing all such services, including

the costs of similar services provided without charge to asylum applicants or other immigrants.

Such fees may also be set at a level that will recover any additional costs associated with the

administration of the fees collected.” Id. DHS has interpreted that provision to vest the agency

with discretion to provide certain services for free in the form of total fee exemptions, or fee

waivers, subject to certain conditions or criteria. 1 As explained in the regulations promulgated

under this authority (hereinafter “USCIS fee regulations”), the fee waivers may be available where:

        (i) The party requesting the benefit is unable to pay the prescribed fee.
        (ii) A waiver based on inability to pay is consistent with the status or benefit sought[.]

8 C.F.R. § 103.7(c)(1). To request a fee waiver, the “person requesting an immigration benefit

must submit a written request for permission to have their” fee waived. Id. § 103.7(c)(2). This

written request “must state the person’s belief that he or she is entitled to or deserving of the benefit

requested, the reasons for his or her inability to pay, and evidence to support the reasons indicated.”

Id. The regulation also lists the benefit applications for which a fee waiver is available. Id.

§ 103.7(c)(3). 2

        USCIS previously allowed fee waiver applicants to submit requests in a variety of ways

and undertook a holistic analysis of the applicant’s finances to determine inability to pay. See

Agency Information Collection Activities; Revision of a Currently Approved Collection: Request



1
  The William Wilberforce Trafficking Victims Protection Reauthorization Act of 2008 (TVPRA)
requires DHS to permit certain applicants to apply for fee waivers for “any fees associated with
filing an application for relief through final adjudication of the adjustment of status.” See title II,
subtitle A, sec. 201(d)(3), Pub. L. No. 110-457, 122 Stat. 5044 (2008); INA § 245(l)(7), 8 U.S.C.
§ 1255(l)(7). It does not specify or change the regulatory standard for granting such applications,
however.
2
 8 C.F.R. § 103.7(d) authorizes the USCIS Director to approve and suspend exemptions from fees
or provide that the fee may be waived for a case or class of cases that is not otherwise provided in
8 C.F.R. § 103.7(c).




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for Fee Waiver; Exemptions, 84 Fed. Reg. 26,137 (June 5, 2019), AR330 (Second 30-Day Notice).

In 2010, during the rulemaking concerning the current fee waiver regulations, see USCIS Fee

Schedule, 75 Fed. Reg. 58,962, 58,989 (Sept. 24, 2010) (2010 Final Rule), AR2, 29, DHS noted

that commenters had cited difficulty in navigating the fee waiver process. USCIS agreed that the

fee waiver process would benefit from standardization and, accordingly, separately proposed a

new information collection request pursuant to the Paperwork Reduction Act, 44 U.S.C. §§ 3501,

et seq. (PRA), to facilitate the fee waiver process. See Form I-912, Request for an Individual Fee

Waiver, 75 Fed. Reg. 40,846 (July 14, 2010); AR14. As DHS explained in the 2010 Final Rule,

the Form I-912 would outline the evidence necessary to support a request for a fee waiver. AR30.

As the original Form I-912, Request for Fee Waiver (Sept. 24, 2010), AR32–33, stated, USCIS

would generally waive fees for applicants who:

       1. Were receiving a means-tested benefit;
       2. Had a household income at or below 150% of the FPG; or
       3. Were experiencing financial hardship due to extraordinary expenses or other
          circumstances that rendered the individual unable to pay the fee such as
          unexpected medical bills or emergencies.

AR32–33; AR36–42; see also USCIS Fee Waiver Memo (Mar. 13, 2011), AR43–50.

       In 2016, after USCIS conducted a comprehensive fee review, DHS adjusted certain

immigration and naturalization benefit fees. USCIS Fee Schedule, 81 Fed. Reg. 73,292 (Oct. 24,

2016) (2016 Final Rule), AR89. The fee review demonstrated that current USCIS fees do not

recover the full costs of the services USCIS provides, and DHS determined that increasing fees

and adding a new fee were necessary “to fully recover costs [for USCIS services] and [to] maintain

adequate service.” AR90. In the fee adjustment rulemaking, DHS noted that nearly half of the

increase was necessary to account for reduced revenue stemming from an increase in fee waivers

granted since FY 2010. USCIS Fee Schedule, 81 Fed. Reg. 26,904, 26,910 (May 4, 2016) (2016




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Proposed Rule), AR52, 58. As DHS explained in the final rulemaking, “the cost of providing

services with a discount or without a fee must be transferred to those who pay a full fee” and,

therefore, “USCIS takes a relatively careful position with respect to transferring costs from one

applicant to another through the expansion of fee waiver eligibility.” AR104. DHS also signaled

that it “may in the future revisit the USCIS fee waiver guidance with respect to what constitutes

inability to pay under 8 CFR 103.7(c).” AR70.

 II.   The 2019 Revisions to the Form I-912 and Instructions.

       In 2018, USCIS undertook revisions to the fee waiver Form: (1) USCIS revised the

evidence it would consider in evaluating inability to pay; (2) USCIS required federal income tax

transcripts to demonstrate income; and (3) USCIS required use of the Form I-912 for fee waiver

requests. Second 30-Day Notice, AR330–33. Notably, the revisions maintained fee waiver

applicants’ option to demonstrate inability to pay through evidence of financial hardship. Id.

       First, since implementation of the 2011 policy guidance, USCIS had found that various

income levels used in States to grant a means-tested benefit resulted in different eligibility

determinations for applicants with the same income. Id. Therefore, to reduce disparate treatment

of similarly situated requestors, ameliorate the concerns about the fee waiver program, and

improve quality and consistency of fee waiver adjudications, USCIS decided to eliminate means-

tested benefit receipt as per se evidence of inability to pay. Id. Second, USCIS frequently rejected

applications with incomplete copies of tax returns or copies that were not signed or filed with the

IRS to support fee waiver requests. See USCIS Responses to Public Comments on Form I-912

received during 60-Day comment period, AR242–49. In light of these documentary issues, USCIS

determined that reliance on tax transcripts could reduce the number of rejected income-based

requests. Finally, USCIS determined that permitting ad hoc requests increased the burden on




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USCIS adjudicators. Accordingly, USCIS decided to require submission of the Form I-912 for all

fee waiver requests to support uniformity of the fee waiver process and reduce that burden. Id.;

Form I-912, Request for Fee Waiver, Supporting Statement for 2019 Revision, AR452.

       On September 28, 2018, USCIS published a 60-day notice in the Federal Register

requesting comments on the revised Form I-912 and instructions and posted the documents for

review in docket USCIS–2010–0008 at www.regulations.gov. Agency Information Collection

Activities; Revision of a Currently Approved Collection: Request for Fee Waiver; Exemptions, 83

Fed. Reg. 49,120 (Sept. 28, 2018) (60-Day Notice), AR179. USCIS received 1,198 comments on

the 60-Day Notice.     Many comments focused on the means-tested benefit criterion and

commenters’ predictions about the effects of its removal; many addressed the tax transcript

requirement for proof of income and the predicted burdens it would impose for applicants and

advocacy organizations that serve them; and many proposed alternatives the commenters’ would

have preferred to the agency’s proposal. See AR242–49 (summarizing and grouping comments

the agency received); see, e.g., AR2936–40 (NWIRP’s public comment to the proposed revisions).

USCIS responded to the public comments and made changes to the Form and instructions based

on the comments. See AR242–49. On April 5, 2019, USCIS published a second notice in the

Federal Register informing the public that USCIS would be submitting the revised Form I-912 to

the Office of Management and Budget (OMB) for review and clearance in accordance with the

PRA, and providing an additional 30 days for public comments. Agency Information Collection

Activities; Revision of a Currently Approved Collection: Request for Fee Waiver, 84 Fed. Reg.

13,687 (Apr. 5, 2019) (First 30-Day Notice), AR250. USCIS received 1,240 comments on the

First 30-Day Notice. Many comments reiterated objections to the predicted burdens imposed by

the changes. See AR314–29 (summarizing and grouping comments the agency received); see,




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e.g., AR3303–12 (NWIRP’s public comment to the revised proposal). USCIS again responded to

the public comments and made changes to the form and instructions based on the comments. See

AR314–29. On June 5, 2019, USCIS published a third notice in the Federal Register to notify the

public that it had submitted the revised Form I-912 to the OMB, and invite additional public

comments for 30-days. AR330. USCIS received 617 comments after publishing that notice.

USCIS did not make changes to the form and instructions based on public comments received on

the June 5, 2019 notice, but responded to the public comments in its submission to OMB. See

AR397–406. The Office of Information and Regulatory Affairs, OMB (OIRA) approved the form

changes on October 24, 2019. 3 On October 25, 2019, USCIS published the revised Form I-912

and instructions, along with corresponding revisions to the USCIS Policy Manual and a Policy

Alert. See AR484-514. The revised Form and Manual took effect on December 2, 2019. 4

       On December 11, 2019, the revised Form was preliminarily enjoined, nationwide, by the

U.S. District Court for the Northern District of California. See Order Granting Pls.’ Mot. for

Nationwide Prelim. Inj., City of Seattle v. DHS, 3:19-cv-7151-MMC (N.D. Cal., Dec. 11, 2019),

ECF No. 65 (Nationwide Preliminary Injunction Order). A third challenge to the 2019 Form

revisions has been filed by an organizational plaintiff in the U.S. District Court for the District of


3
 The approved package is available at
https://www.reginfo.gov/public/do/PRAViewICR?ref_nbr=201910-1615-006#                 (last    visited
Feb. 17, 2019).
4
  On November 14, 2019, USCIS published in the Federal Register a notice of proposed
rulemaking. See USCIS Fee Schedule and Changes to Certain Other Immigration Benefit Request
Requirements, 84 Fed. Reg. 62,280 (Nov. 14, 2019) (hereinafter “Proposed Rule” or “November
2019 NPRM”). Following a comprehensive biennial fee review, USCIS determined that current
fees do not recover the full costs of providing adjudication and naturalization services, and the
Proposed Rule accordingly would adjust certain fees charged by USCIS and make additional
changes to other immigration benefit request requirements. As relevant to this litigation, the
Proposed Rule would amend 8 C.F.R. § 103.7(c), the regulatory provision governing waiver of
fees associated with certain immigration adjudication and naturalization services. See 84 Fed.
Reg. at 62,298–301.




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Massachusetts. See Project Citizenship, Inc. v. DHS, 38:19-cv-12362-DPW (D. Mass., Jan. 13,

2020). Both of those challenges have been stayed pending the outcome of the November 2019

NPRM. See City of Seattle, 3:19-cv-7151-MMC, ECF No. 76; Project Citizenship, Inc., 38:19-

cv-12362-DPW, ECF No. 11.

III.    This Litigation

        Plaintiff Northwest Immigrant Rights Project (NWIRP) challenges the 2019 revisions to

the Form I-912 and the Policy Manual and USCIS’s decision to stop applying the 2011 Form

(collectively “the 2019 Form revisions” or “revisions”), bringing claims under the APA, 5 U.S.C.

§§ 701 et seq. and the PRA, 44 U.S.C. §§ 3506–07. Plaintiff filed the Complaint on November 1,

2019, ECF No. 1, and an Amended Complaint on November 21, 2019, ECF No. 9 (FAC). On

December 12, 2019, before Defendant’s time to respond to the Amended Complaint had expired,

and immediately after the preliminary injunction in City of Seattle issued, Plaintiff moved for

summary judgment. ECF No. 11 (NWIRP Mot.).

                                    STANDARD OF REVIEW

        Under Rule 12(b)(1), a plaintiff seeking to invoke the jurisdiction of a federal court bears

the burden of establishing that the court has jurisdiction to hear its claims. See U.S. Ecology, Inc. v.

U.S. Dep’t of Interior, 231 F.3d 20, 24 (D.C. Cir. 2000). As relevant here, a plaintiff’s lack of

constitutional standing is “a defect in subject matter jurisdiction.” Haase v. Sessions, 835 F.2d

902, 906 (D.C. Cir. 1987). Because the elements necessary to establish jurisdiction are “not mere

pleading requirements but rather an indispensable part of the plaintiff’s case, each element must

be supported in the same way as any other matter on which the plaintiff bears the burden of proof,

i.e., with the manner and degree of evidence required at the successive stages of the litigation.”

Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992).




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       In evaluating a motion to dismiss, “the Court must ‘treat the complaint’s factual allegations

as true . . . and must grant plaintiff the benefit of all inferences that can be derived from the facts

alleged.’” Shibeshi v. United States, 920 F. Supp. 2d 105, 106 (D.D.C. 2013) (quoting Sparrow v.

United Air Lines, Inc., 216 F.3d 1111, 1113 (D.C. Cir. 2000)). “The Court need not accept as true,

however, ‘a legal conclusion couched as a factual allegation,’ nor an inference unsupported by the

facts set forth in the Complaint.” Id. (quoting Trudeau v. Fed. Trade Comm’n, 456 F.3d 178, 193

(D.C. Cir. 2006)). “A pleading that offers ‘labels and conclusions’ or ‘a formulaic recitation of

the elements of a cause of action will not do.’ Nor does a complaint suffice if it tenders ‘naked

assertion[s]’ devoid of ‘further factual enhancement.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555, 557 (2007)) (alterations in original).

       Under Rule 56, “[s]ummary judgment is the proper mechanism for deciding, as a matter of

law, whether an agency action is supported by the administrative record and consistent with the

APA standard of review.” Blue Ocean Inst. v. Gutierrez, 585 F. Supp. 2d 36, 41 (D.D.C. 2008).

When summary judgment is sought under the APA, “the standard set forth in Rule 56(a) does not

apply because of the court’s limited role in reviewing the administrative record.” Coe v. McHugh,

968 F. Supp. 2d 237, 239 (D.D.C. 2013). Instead, the “[c]ourt considers whether the agency acted

within the scope of its legal authority, whether the agency has explained its decision, whether the

facts on which the agency purports to have relied have some basis in the record, and whether the

agency considered the relevant factors.” Fund for Animals v. Babbitt, 903 F. Supp. 96, 105

(D.D.C. 1995). “Courts must ‘liberally’ defer to an agency’s findings and sustain the agency’s

interpretation of its authorizing statute so long as that interpretation is ‘legally permissible,’ even

if the court would otherwise adopt a different interpretation.” AARP v. EEOC, 226 F. Supp. 3d 7,

23 (D.D.C. 2016).




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                                            ARGUMENT

  I.    Plaintiff’s Lawsuit Should Be Dismissed.

        This Court lacks jurisdiction to address any of Plaintiff’s claims because NWIRP lacks

standing to bring them under Article III. Even if Plaintiff could demonstrate the requisite

perceptible harm and resulting diversion of resources, it would still fall outside the zone of interests

protected by the underlying regulation and this Court should decline to exercise jurisdiction.

        Additionally, Plaintiff’s fourth cause of action, against the Policy Manual revisions

accompanying the 2019 Form revisions, must fail because the Manual revisions do not constitute

final agency action. And Plaintiff’s fifth cause of action, purportedly brought under the PRA, must

fail because that statute contains no private right of action.

        A. Plaintiff Lacks Article III Standing to Bring Its Claims Because It Has Not Shown
           A Frustration of Its Mission Or A Diversion of Resources Outside Its Normal
           Activities.

        A plaintiff bears the burden of establishing standing. Lujan, 504 U.S. at 560. “To seek

injunctive relief, a plaintiff must show that [it] is under threat of suffering ‘injury in fact’ that is

concrete and particularized; the threat must be actual and imminent, not conjectural or

hypothetical; it must be fairly traceable to the challenged action of the defendant; and it must be

likely that a favorable judicial decision will prevent or redress the injury.” Summers v. Earth

Island Inst., 555 U.S. 488, 493 (2009); see also Clapper v. Amnesty Int’l USA, 568 U.S. 398, 414

(2013) (explaining the injury must be “certainly impending”).            The necessary facts “must

affirmatively appear in the record” and “cannot be inferred argumentatively from averments in the

pleadings.” FW/PBS, Inc. v. City of Dallas, 493 U.S. 215, 231 (1990). And the standing inquiry

is especially rigorous where a plaintiff’s “asserted injury arises from the government’s allegedly

unlawful regulation . . . of someone else.” Lujan, 504 U.S. at 562 (emphasis in original).

        Plaintiff presumably asserts standing as an organization in its own right. Accordingly, it




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must satisfy the same test that applies to individuals. Nat’l Taxpayers Union, Inc. v. United States,

68 F.3d 1428, 1433 (D.C. Cir. 1995). The D.C. Circuit has set forth a two-part inquiry to determine

whether an organization has pleaded a cognizable injury. First, a court must ask whether the

defendant’s action “injured the [organization’s] interest.” Food & Water Watch v. Vilsack, 808

F.3d 905, 919 (D.C. Cir. 2015). To allege such an injury, the organization must show that the

defendant’s conduct “perceptibly impaired [its] ability to provide services” or, in other words,

“inhibit[ed] . . . [its] daily operations.” Id.; see also Havens Realty Corp. v. Coleman, 455 U.S.

363, 379 (1982) (holding the alleged injury must be “more than simply a setback to the

organization’s abstract social interests”). If the organization shows “an initial impairment to its

programs,” Ctr. for Responsible Sci. v. Gottlieb, 346 F. Supp. 3d 29, 41 (D.D.C. 2018), the court

must next determine “whether the organization used its resources to counteract that harm,” Food

& Water Watch, 808 F.3d at 919. A diversion of the organization’s resources “cannot alone

constitute the harm. Holding otherwise would be hopelessly circular.” Ctr. for Responsible Sci.,

346 F. Supp. 3d at 41.

       In Food & Water Watch, the D.C. Circuit held that an organization that advocated for safe

food systems failed to demonstrate a cognizable organizational injury and thus lacked standing to

challenge poultry-inspection regulations promulgated by USDA. 808 F.3d at 921. Food & Water

Watch alleged that the new regulations injured the organization by causing it to increase the

resources it spent on educating the public and its members about the regulation’s alleged negative

effects and encouraging its members to avoid certain poultry products. Id. at 920. The Court held

that FWW alleged “nothing more than an abstract injury to its interests,” and that its alleged

increased expenditure of resources did not demonstrate that its “organizational activities ha[d]

been perceptibly impaired in any way.” Id. at 921. By contrast, the D.C. Circuit in PETA v. USDA




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held that PETA (an animal-welfare group) established standing to challenge the USDA’s failure

to promulgate bird-specific animal welfare regulations where the agency’s inaction caused injuries

“concrete and specific to the work” of PETA. 797 F.3d 1087, 1095 (D.C. Cir. 2015). In particular,

the Court held that USDA’s failure to apply such regulations to birds had “‘perceptibly impaired

[PETA’s] ability’ to both bring [statutory] violations to the attention of the agency charged with

preventing avian cruelty and continue to educate the public,” and that PETA consequently

expended resources to counteract that harm. Id.

       Plaintiff has not alleged sufficient facts to show either (1) a perceptible injury to Plaintiff’s

interest or (2) a diversion of resources. Instead, its “abstract concern with a subject that could be

affected by an adjudication does not substitute for the concrete injury required by Art[icle] III.”

Spann v. Colonial Vill., Inc., 899 F.2d 24, 27 (D.C. Cir. 1990) (quoting Simon v. E. Ky. Welfare

Rights Org., 426 U.S. 26, 40 (1976)).

               1. Plaintiff’s Organizational Harm Allegations Are Speculative And Rely on
                  The Decisions of Independent Third Parties, Which Cannot Form A Basis
                  For Standing.

       To establish the first requirement, a plaintiff must show that the defendant’s conduct

“perceptibly impaired [its] ability to provide services” or, in other words, “inhibit[ed] . . . [its]

daily operations.”   Food & Water Watch, 808 F.3d at 919.              Plaintiff appears to base its

organizational harm allegations on frustration of the organization’s broader mission and its

prediction that the 2019 Form revisions will require Plaintiff to spend more time and resources on

a given applicant, making it more difficult for Plaintiff to achieve beneficial outcomes for more

clients or otherwise advance its mission. See FAC ¶¶ 85–94. Neither theory proves sufficient for

organizational standing’s first requirement.

       NWIRP points to no independent injury the revisions challenged in this suit will cause to

the organization. Instead, its allegations boil down to merely the harms Plaintiff speculates




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unnamed third parties will face and “conflict with NWIRP’s mission,” FAC ¶ 90. Food & Water

Watch makes clear, however, that a showing of injury requires more than a “frustration of [the

organization’s] purpose” or mere allegations that the organization’s “mission has been

compromised.” 808 F.3d at 919. As the D.C. Circuit explained, “frustration of an organization’s

objectives ‘is the type of abstract concern that does not impart standing.’” Id. (quoting Nat’l

Taxpayers Union, Inc., 68 F.3d at 1433); see Equal Rights Ctr. v. Post Properties, Inc., 633 F.3d

1136, 1138 (D.C. Cir. 2011) (“a mere setback to [an organization’s] abstract social interests” is

not a cognizable injury for Article III standing); Int’l Acad. of Oral Med. & Toxicology v. FDA,

195 F. Supp. 3d 243, 256-57 (D.D.C. 2018) (“mission conflict . . . alone does not confer

standing”). In that sense, under Plaintiff’s own theories, the revised Form makes its services more

valuable to those it serves.

        The impacts NWIRP does specify—“a more burdensome, time-consuming, lengthy, and

uncertain process for individual applicants and for NWIRP, in serving its clients,” FAC ¶ 89—are

speculative and depend on third parties’ independent choices. First, while NWIRP may desire that

its staff and volunteers spend more time on some applicants because of the revised Form, nothing

about the revisions requires they do so. Crucially, it appears Plaintiff already serves clients who

use the unrevised Form I-912, use income- and hardship-based fee waiver applications, or do not

need a fee waiver at all. Cf. FAC ¶ 85–88 (revealing “[m]any” but not all NWIRP clients seek fee

waivers or rely on means-tested benefits evidence, and some applicants do not receive such

benefits).

        The only real change to its practices that Plaintiff alleges rises to the level of cognizable

injury, then, turns out to be the revised Form’s tax return transcript requirement for proving

inability to pay based on income—again, a requirement for applicants Plaintiff seeks to assist, not




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Plaintiff itself. First, this objection overlooks the option to demonstrate inability to pay based on

financial hardship, an option some of Plaintiff’s clients already use. Cf. id. This alternative for

demonstrating inability to pay remains available, and also undercuts Amici’s speculation that

survivors of sexual assault and domestic abuse will be particularly harmed by the revisions. See

Amici Curiae Br. of Orgs. Serving Immigrant Survivors of Violence 10–13, ECF No. 21; see also

AR473, 480–81 (2019 Form revisions permitting fee waiver applications that “demonstrate

financial hardship, including . . . victimization”). 5 In fact, USCIS explained that the impacts on

such groups “will actually be less pronounced than they will be on any other group and not more.”

AR248. Contrary to Amici’s assertions that the revisions impose “insurmountable” evidentiary

burdens on these vulnerable groups, Amici Br. 15–16, Violence Against Women Act (VAWA)

self-petitioners and applicants or petitioners for T and U nonimmigrant status “will not need to

provide documentation of income from family members who are or [were] their abuser or human

trafficker,” “may provide affidavits or statements from religious organizations or advocacy groups

with their Form I-912 to document income or lack thereof,” and “will not be summarily rejected

at intake when income information is not provided.” AR248. The agency likewise addressed

Amici’s attacks on the financial hardship standard itself, Amici Br. 17–18, in its responses to public

comments. USCIS clarified it understands “those filers may need USCIS to apply more flexible

standards in the types of documentation that they may submit with their fee waiver request,” and

reiterated what kinds of evidence would be helpful in adjudicating such requests. AR248–49.



5
  Amici’s predictions about the agency’s application of the financial hardship option, Amici Br.
17–18, also boil down to speculation. Applicants seeking a fee waiver, in particular those suffering
financial hardship because of “victimization,” AR480–81, can base their fee waiver request on
evidence other than tax transcripts. As with any fee waiver request, under the unrevised Form or
under the revisions, it is then within the agency’s discretion whether to grant the fee waiver based
on the applicant’s inability to pay.




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       What is more, though—in addition to eliminating the evidentiary issues of some applicants

using unsigned or unfiled tax returns as proof of income—requesting a tax transcript turns out to

be relatively straightforward: an individual need only submit a request by mail that includes an

Individual Tax Identification Number or Social Security Number, date of birth, and mailing

address from the individual’s last tax return. Welcome to Get Transcript, Internal Revenue

Service, https://www.irs.gov/individuals/get-transcript (last visited Feb. 14, 2020). An individual

may also use the automated phone transcript service toll-free. Id. Transcripts then arrive in “5 to

10 calendar days.” Id. 6 And all that is needed then is a straightforward comparison of the

applicant’s income and 150% of the FPG. 7 Such a process hardly requires upending Plaintiff’s

current practices for advising fee waiver applicants, or any significant effort to retrain staff or

volunteers to assist applicants (who could already use proof of income, including tax returns or

transcripts, to demonstrate inability to pay). Plaintiff, presumably, does not turn away all such

applicants. Moreover, there are several steps Plaintiff can, and presumably already does, use to

reduce the time spent on an applicant: inform prospective clients of the Form and required proof

before meeting with them; provide clients who do not already have the requisite proof with

instructions for obtaining it; and refer particularly complex cases to one-on-one services.

Plaintiff’s prediction of spending more time on applicants thus turns out to be based on its inability

to adequately inform prospective clients of the requirements in advance of any meeting, its



6
  There is also an online option for individuals with a social security number, email account,
personal account number from a credit card, mortgage, home equity loan, home equity line of
credit, or car loan, and a mobile phone with the applicant’s name on the account. Welcome to Get
Transcript, Internal Revenue Service. Plaintiff focuses entirely on these requirements, while
ignoring the straightforward (and relatively quick) mail and phone options. FAC ¶ 91(a).
7
 Those Guidelines are also straightforwardly laid out online. See HHS Poverty Guidelines for
2020, U.S. Dep’t of Health & Human Servs., https://aspe.hhs.gov/poverty-guidelines (last visited
Feb. 17, 2020).




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speculation about clients’ preparedness to request a waiver, or its own desire to spend more time

on individual applications. None is a cognizable harm because none is certainly impending, see

Clapper, 568 U.S. at 414; none is traceable to Defendant; and the first two are typical activities for

an organization that already instructs its clients to prepare and provide necessary documentation.

In any event, Plaintiff has not established standing.

       Plaintiff further intimates that more time may be required to assist more applicants because

more applicants may be rejected under the revised Form and have to resubmit. See FAC ¶¶ 89,

91. But its allegations fail to include any facts showing beneficial outcomes will be less likely for

their clients who apply for fee waivers. See Clapper, 568 U.S. at 409. In other words, Plaintiff

has not alleged any facts tending to show that its clients would have been granted fee waivers

before the Form revisions but will be among those requests that would be rejected under the Form

revisions. On the contrary, one of the reasons USCIS made the revisions was to reduce the number

of rejected applications by creating more clarity in the documentation needed to demonstrate

inability to pay. See, e.g., AR321. Another reason was to increase the agency’s efficiency and

speed processing applications. See, e.g., AR149. Moreover, a fee waiver applicant who is denied

may resubmit their request at any time without prejudice. AR473.

       Again, Plaintiff seeks to assist immigrants applying for naturalization; the Form revisions

do not frustrate that mission. Plaintiff may now prefer a narrower reading of that mission—

effectively arguing entitlement to a particular application timeline or evidentiary basis for

(unidentified, non-party) applicants that has never been guaranteed, or to a particular type of client

service model—but affecting that preference does not amount to an Article III injury. Plaintiff’s

speculation about the Form revisions’ effects on those unnamed applicants and, in turn, itself, does

not confer standing.




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                2. Plaintiff’s Diversion-of-Resources Allegations Relate Only to Expenditures
                   on “Ordinary Program Costs,” Which Cannot Constitute An Injury in Fact.

        The second prong for organizational standing requires a plaintiff to show that it “used its

resources to counteract” the harm it demonstrated for the first prong. Food & Water Watch, 808

F.3d at 919. A court need not reach this requirement if a plaintiff’s harm-to-mission allegations

prove insufficient. See id. If a court does reach the diversion-of-resources prong, however, a

plaintiff’s decision to shift expenditures among “ordinary program costs” in furtherance of the

same organizational mission is insufficient to confer standing. Nat’l Taxpayers Union, Inc., 68

F.3d at 1434; see also Fair Emp’t Council v. BMC Mktg. Corp., 28 F.3d 1268, 1276 (D.C. Cir.

1994) (finding “self-inflicted” harm, resulting “not from any actions taken by [the defendant], but

rather from [the organization’s] own budgetary choices,” insufficient). In other words, “[a]n

organization cannot convert its ordinary program costs into an injury in fact.” Nat’l Taxpayers

Union, Inc. 68 F.3d at 1434.

        Plaintiff does not satisfy the diversion-of-resources requirement for organizational

standing. The Amended Complaint includes only a conclusory allegation “that NWIRP must

divert resources from serving other clients.” FAC ¶ 92. The Motion for Summary Judgment and

accompanying declaration clarify that Plaintiff will “devot[e] its resources to counteracting the

effects of [the Form revisions],” Barón Decl. at ¶ 38, ECF No. 11-1, “will not be able to serve as

many clients as it could previously, in a particular period of time,” id. at ¶ 40, “will use its resources

to advance the application fees of clients” whom it thinks need such an advance, id. at ¶ 41, and

“will devote more staff time to modifying its community-education and training materials and

providing training on fee-waiver issues, ” id. at ¶ 44. See also NWIRP Mot. 20 (summarizing

resources Plaintiff intends to divert). None proves availing.

        First, Plaintiff’s alleged resource diversions are entirely consistent with its ordinary program




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costs. Advocating over an immigration-related policy, serving fee waiver applicants, advancing

application fees for clients, and modifying education and training materials on fee waiver requests all

fall well within NWIRP’s bailiwick as an immigration legal services organization. Its internal choices

over how to allocate resources among those priorities do not confer standing. See Nat’l Taxpayers

Union, Inc. 68 F.3d at 1434; see also Envt’l Working Grp. v. FDA, 301 F. Supp. 3d 165, 171 (D.D.C.

2018) (quoting Food & Water Watch, 808 F.3d at 920) (“[A]n organization does not suffer an injury

in fact when it expends resources to educate its members and others unless doing so subjects the

organization to operational costs beyond those normally expended.”). Were it otherwise, any

organizational plaintiff could manufacture standing over nearly any change in federal policy, just by

choosing to spend more time advising clients, updating its materials, and providing updated advice to

those it advises. But at least some of Plaintiff’s clients, staff, and volunteers already use the unrevised

Form (as opposed to ad hoc submissions) and help or instruct applicants how to complete income- or

hardship-based fee waiver requests. The 2019 Form revisions work no significant change in this

regard, let alone one outside Plaintiff’s normal activities.

        Second, standing for injunctive relief requires an injury that is “certainly impending.”

Clapper, 568 U.S. at 401 (quoting Whitmore v. Arkansas, 495 U.S. 149, 158 (1990)). With over

a year of notice the revisions were coming, the fact that Plaintiff does not make specific allegations

about any actual diversion of resources to date is telling—all the more so given that the Form

revisions were in effect for over a week in December 2019 before being preliminarily enjoined.

The Amended Complaint contains no specific amounts of resources diverted or planned to be

diverted at all. Similarly, Plaintiff’s advocacy choices and decision whether to advance application

fees for certain clients are proactive choices, not a necessary response to any certainly impending

injury. “[S]uch budgetary choices merely reflect [the organization’s] shifting priorities”—a type




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of harm that D.C. Circuit precedent has long held “amounts to a ‘self-inflicted’ wound.” New

England Anti-Vivisection Soc. v. U.S. Fish & Wildlife Serv., 208 F. Supp. 3d 142, 167 (D.D.C.

2016) (quoting ASPCA v. Feld Entm’t, Inc., 659 F.3d 13, 25 (D.C. Cir. 2011) and Turlock Irr.

Dist. v. FERC, 786 F.3d 18, 24 (D.C. Cir. 2015)).

        In short, because Plaintiff has failed to allege the necessary harms, resulting expenditures,

or “inhibition of the organization’s daily operations,” it lacks standing. Food & Water Watch, 808

F.3d at 919. 8

        B.       Plaintiff Is Outside the Zone of Interests Regulated by the Underlying Statute
                 or Regulation.

        Even if Plaintiff could establish standing, its claims would still fail because they are outside

the zone of interests served by the fee statute, 8 U.S.C. § 1356(m), and fee waiver regulation, 8

C.F.R. § 103.7(c)(3). “Whether a plaintiff comes within the zone of interests is an issue that

requires [courts] to determine, using traditional tools of statutory interpretation, whether a

legislatively conferred cause of action encompasses a particular plaintiff’s claim.” Lexmark Int'l,

Inc. v. Static Control Components, Inc., 134 S. Ct. 1377, 1387 (2014). In the APA context, the

zone-of-interests requirement ensures that the party seeking review of an agency action is

“‘adversely affected or aggrieved’ by that action ‘within the meaning of a relevant statute.’”

Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 883 (1990) (quoting 5 U.S.C. § 702). And to be

“‘adversely affected or aggrieved . . . within the meaning’ of a statute, the plaintiff must establish



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  Plaintiff does not appear to assert associational standing. Nor could it, because to establish
associational (also known as representational) standing, a plaintiff must show that “at least one of
its members has standing [to sue] in its own right,” among other requirements. Interstate Nat. Gas
Ass’n of Am. v. FERC, 494 F.3d 1092, 1095 (D.C. Cir. 2007). Plaintiff cites no specific individual
at all, let alone one of its members, which is fatal to any attempt to establish associational standing.
See Summers, 555 U.S. at 498 (requiring association to “name the individuals who were harmed”);
Am. Chemistry Council v. Dep’t of Transp., 468 F.3d 810, 820 (D.C. Cir. 2006) (requiring
“identity” of injured member to be “firmly established”).




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that the injury he complains of . . . falls within the ‘zone of interests’ sought to be protected by the

statutory provision whose violation forms the legal basis for his complaint.” Id. Notably, a

plaintiff falls outside the zone when its “interests are . . . marginally related to or inconsistent with

the purposes implicit in the statute,” Clarke v. Sec. Indus. Ass’n, 479 U.S. 388, 399 (1987), even if

it “might technically be injured in an Article III sense,” Thompson v. N. Am. Stainless, LP, 562

U.S. 170, 178 (2011).

        Plaintiff falls outside the zone of interests served by the USCIS fee statute and regulation.

This case concerns a process by which individual applicants for immigration adjudication and

naturalization services can request a fee waiver. It is those applicants, not an organization that

provides them with advice, who “fall ‘within the zone [of interests] . . . protected” by § 1356(m)

or § 103.7(c)(3), because they are the “reasonable—indeed, predictable—challengers” to fee

waiver decisions. Match-E-Be-Nash-She-Wish Band of Pottawatomi Indians v. Patchak, 567 U.S.

209, 227 (2012). Plaintiff cannot purport to assert interests on these applicants’ behalf because it

lacks associational standing and Plaintiff’s own purported interests (in maximizing the number of

applicants it serves and avoiding changes to its client service model) are not even “marginally

related” to those of an applicant seeking a fee waiver to apply for naturalization. Cf. INS v.

Legalization Assistance Project of L.A. Cty. Fed’n of Labor, 510 U.S. 1301, 1302, 1304–05 (1993)

(O’Connor, J., in chambers) (concluding that relevant INA provisions were “clearly meant to

protect the interests of undocumented aliens, not the interests of organizations [that provide legal

help to immigrants],” and that the fact that a “regulation may affect the way an organization

allocates its resources . . . does not give standing to an entity which is not within the zone of

interests the statute meant to protect”); Fed’n for Am. Immigration Reform, Inc. v. Reno, 93 F.3d

897, 899 (D.C. Cir. 1996) (dismissing under zone-of-interests test where plaintiffs relied on




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incidental effects of challenged policy on their staff). The fee statute provides

       [t]hat fees for providing adjudication and naturalization services may be set at a
       level that will ensure recovery of the full costs of providing all such services,
       including the costs of similar services provided without charge to asylum applicants
       or other immigrants. Such fees may also be set at a level that will recover any
       additional costs associated with the administration of the fees collected.

8 U.S.C. § 1356. And the implementing regulation highlights both the discretionary nature of fee

waivers and the burden an applicant must bear to obtain one. 8 C.F.R. § 103.7. Neither implicates

the organizational Plaintiff’s purported interests here, so Plaintiff lacks standing.

       C. Plaintiff’s Claim Against The Policy Manual Revisions Should Be Dismissed
          Because Those Revisions’ Publication Is Not A Final Agency Action Subject To
          Judicial Review.

       The target of Plaintiffs’ challenge, in their parlance, is the “October 2019 fee-waiver

actions,” collectively referring to the revised Form I-912, the decision to stop applying the 2011

Memorandum, and the October 25, 2019 publication of a revised section of the USCIS Policy

Manual regarding fees for immigration benefit requests. See FAC ¶¶ 110–113. However, the

Policy Manual revisions do not constitute reviewable final agency action under the APA, so

Plaintiff’s fourth cause of action should be dismissed. See id.; NWIRP Mot. 38–39.

       “[T]wo conditions must be satisfied for agency action to be ‘final’”: (1) “the action must

mark the consummation of the agency’s decisionmaking process” and “not be of a merely tentative

or interlocutory nature”; and (2) “the action must be one by which rights or obligations have been

determined, or from which legal consequences will flow.” Bennett v. Spear, 520 U.S. 154, 177–

78 (1997) (citation and internal quotation marks omitted).

       Here, the agency action that effected the change to waiver requests was the revision of the

Form I-912 and its instructions, and the Policy Manual revisions merely restate the requirements

for fee waiver requests that are already prescribed in the Form and its instructions. Had the Policy




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Manual revisions not issued, waiver applicants would still have to comply with the revised Form

I-912 requirements (mandating use of the Form, eliminating acceptance of receipt of a means-

tested benefit as per se evidence of inability to pay, and requiring submission of tax transcripts) as

of December 2, 2019. Thus, publication of the Policy Manual revisions is not “action . . . by which

‘rights or obligations have been determined,’ or from which ‘legal consequences will flow,’” id.

at 178, and has no practical or legal independent effect. Accordingly, the Policy Manual revisions

are not “final agency action” and the Court lacks jurisdiction to entertain Plaintiffs’ APA challenge

to them. See Indep. Equip. Dealers Ass’n v. EPA, 372 F.3d 420, 428 (D.C. Cir. 2004) (Roberts,

J.) (concluding agency document that merely “restat[ed] EPA’s established interpretation of

the . . . regulation, . . . tread no new ground,” and “left the world just as it found it . . . cannot be

fairly described as implementing, interpreting, or prescribing law or policy” and thus “is not

reviewable agency action”). 9

        D. Plaintiff’s PRA Claim Should Be Dismissed Because That Statute Contains No
           Private Right Of Action.

        Courts have made clear that the PRA “does not afford an independent cause of action; it

merely serves as a defense to an enforcement action.” Utility Air Regulatory Grp. v. EPA, 744

F.3d 741, 750 n.6 (D.C. Cir. 2014); see Dithiocarbamate Task Force v. EPA, 98 F.3d 1394, 1405

(D.C. Cir. 1996). Accordingly, while a plaintiff may attempt “to use the PRA as a shield against

[a] penalty that [an agency] has imposed on it,” it cannot use the Act as “a sword to persuade the

Court to find the [agency] in violation of the PRA.” Alegent Health-Immanuel Med. Ctr. v.

Sebelius, 34 F. Supp. 3d 160, 170 (D.D.C. 2014). Plaintiff cites no authority to the contrary.



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  For similar reasons, Plaintiffs’ challenges to the Policy Manual revisions are not redressable and
therefore must fail. See Lexmark Int’l, Inc., 572 U.S. at 125.




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       Plaintiff’s fifth claim states “USCIS did not comply with the PRA” and its requirements.

FAC ¶¶ 115–19; see also NWIRP Mot. 40–42. Even if these allegations were true, there exists no

private right of action for Plaintiff to assert under the PRA, so this claim should be dismissed.

 II.   Plaintiff’s Substantive Claims Lack Merit.

       Even if Plaintiff could establish standing, its claims should be rejected. Plaintiff raises two

main APA claims, arguing that USCIS’s revision of Form I-912 and its instructions was

(1) procedurally improper, and (2) arbitrary and capricious. 10       But USCIS followed proper

procedures to effect reasonable Form revisions consistent with its authority under 8 C.F.R.

§ 103.7(c)(2) and supported by the record after due consideration of the relevant factors. Plaintiff

accordingly fails to meet its burden for summary judgment, and summary judgment should be

granted in Defendant’s favor.

       A. USCIS’s Revision Of Form I-912 Was Procedurally Proper.

       Plaintiff argues that USCIS did not comply with the APA’s notice-and-comment

procedures, 5 U.S.C. § 553, when making the 2019 Form revisions, but these procedures do not

apply to the agency’s actions. Under the APA, agencies must follow specific notice-and-

comment procedures before adopting “legislative” or “substantive” rules. Lincoln v. Vigil, 508

U.S. 182, 196 (1993). Where this requirement applies, an agency must notify the public of

proposed rules, see 5 U.S.C. § 553(b), and “give interested persons an opportunity to participate

in the rule making through submission of written data, views, or arguments,” id. § 553(c). But

the challenged actions here are not legislative or substantive, and USCIS complied with applicable

procedures in revising the Form, including by providing ample notice of and opportunity to


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  Plaintiff’s additional causes of action against the decision to set the 2011 Memorandum to
expire and the revisions to the Policy Manual collapse into the same procedural and arbitrary and
capricious analyses as the Form revision, so Defendant addresses them together in this Part.




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comment on those revisions pursuant to the PRA. Therefore, the 2019 Form revisions were

procedurally proper and Defendant is entitled to summary judgment.

       Even if the revisions were substantive rules, any procedural error was harmless. The APA

instructs courts to “take due account of the rule of prejudicial error,” 5 U.S.C. § 706, meaning “[i]f

the agency’s mistake did not affect the outcome, if it did not prejudice the petitioners, it would be

senseless to vacate and remand for reconsideration,” PDK Labs. v. DEA, 362 F.3d 786, 799 (D.C. Cir.

2004). Here, USCIS undertook more comment periods for a longer period of time than the APA

requires (three periods of 60, 30, and 30 days respectively). See 5 U.S.C. § 553 (indicating no

minimum time required for the “opportunity to participate in the rule making” through comments and

requiring only 30 days between publication and the effective date). The agency responded to the

thousands of comments it received, including Plaintiff’s, and made changes to the proposed revisions

as a result. To invalidate the 2019 Form revisions because USCIS published three notices in the

Federal Register instead of a proposed rule and a final rule would be to elevate form over function.

Because Plaintiff has not argued or alleged any facts to show any procedural error affected the

agency’s outcome or prejudiced NWIRP, any such error was harmless, and Defendants are entitled

to summary judgment and does not provide grounds for vacatur.

               1. The Form Revisions Do Not Constitute A “Legislative Rule” Under The APA.

       “[I]nterpretative rules, general statements of policy, or rules of agency organization,

procedure, or practice” are explicitly exempt from the APA’s notice-and-comment requirement.

5 U.S.C. § 553(b)(3)(A). Because USCIS’s actions fall under this exemption, notice-and-

comment rulemaking was not required—although the agency gave the public ample notice and

opportunity to comment, which opportunity the public (and Plaintiff) took, and to which

comments the agency responded. See AR1139, 2793–97, 2935–41, 3302–12, 5942–44 (NWIRP

and its former staff’s submissions).




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       1. In the APA’s terms, the Form revisions are best understood as “procedural rules.” Such

rules are exempt from the APA’s notice and comment requirements. Mendoza v. Perez, 754 F.3d

1002, 1023 (D.C. Cir. 2014). To determine whether a rule is procedural, courts consider “whether

the agency action . . . encodes a substantial value judgment.” Pub. Citizen v. Dep’t of State, 276

F.3d 634, 640 (D.C. Cir. 2002). This standard differs from the inquiry formerly employed to

identify a procedural rule—“whether a given procedure has a ‘substantial impact on parties’”—

because “even unambiguously procedural measures affect parties to some degree.” Id. The

concept of a “value judgment” is construed narrowly and does not encompass “judgment[s] about

what mechanics and processes are most efficient.” JEM Broad. Co. v. FCC, 22 F.3d 320, 328

(D.C. Cir. 1994). Thus, the procedural exception applies even to rules that “may alter the manner

in which the parties present themselves or their viewpoints to the agency” or have an “especially

burdensome” impact on parties before the agency. James V. Hurson Assocs., Inc. v. Glickman,

229 F.3d 277, 280–81 (D.C. Cir. 2000). “The critical feature of a procedural rule is that it covers

agency actions that do not themselves alter the rights or interests of parties.” Nat’l Mining Ass’n v.

McCarthy, 758 F.3d 243, 250 (D.C. Cir. 2014) (quotation marks omitted).

       The 2019 Form revisions are procedural, and notice and comment were not required to

effect them. When USCIS first created the I-912, it did so pursuant to the same procedure used

here: an “information collection request for review and clearance in accordance with the

Paperwork Reduction Act.” 75 Fed. Reg. at 40,846; see also AR14. As USCIS stated then, it

aimed to “standardize” the “fee waiver process,” and issued the “new form [I-912] to facilitate

the fee waiver process” by “clearly outlin[ing] the requirements and documentation necessary to

support a request for a fee waiver.” AR14. Similarly, the revised Form “clearly outline[s] the

requirements and documentation necessary to support a request for a fee waiver,” id.: the revised




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Form articulates “new guidance on the documentation acceptable for individuals to present to

demonstrate that they are unable to pay a fee when requesting a fee waiver,” AR180; see also 84

Fed. Reg. at 26,138 (“USCIS is removing the means-tested benefit as a criterion in its fee waiver

request determinations, requiring the submission of Form I–912 to request a fee waiver, and

clarifying what [evidence] will be considered for a fee waiver.”). In articulating new guidance

about both acceptable evidence to demonstrate “inability to pay” under 8 C.F.R. § 103.7(c)(2)–

(3) and the form the written request must take, the revised Form simply effectuates technical

changes to fee waiver applications, bringing it squarely within the D.C. Circuit’s definition of a

procedural rule. See Mendoza, 754 F.3d at 1023 (quoting Batterton v. Marshall, 648 F.2d 694,

702 n.34 (D.C. Cir. 1980)) (noting that rules “primarily directed toward improving the efficient

and effective operations of an agency” are generally procedural).

       Crucially, the standard for granting fee waivers remains unchanged.            As before, a

“[d]iscretionary waiver of . . . fees” may be granted only if “[t]he party requesting the benefit is

unable to pay,” and “[a] waiver based on inability to pay is consistent with the status or benefit

sought.” 8 C.F.R. § 103.7(c)(1). The agency merely changed which evidence it will consider

when applying that standard to improve efficiency and consistency: USCIS previously considered

means-tested benefits as per se evidence of inability to pay; now it looks at actual income. An

action that does not “change the substantive standards by which [USCIS] evaluates [fee waiver

requests] . . . fall[s] comfortably within the realm of the ‘procedural.’” JEM Broad. Co., 22 F.3d

at 327 (emphasis added); see also Am. Hosp. Ass’n v. Bowen, 834 F.2d 1037, 1055 (D.C. Cir.

1987) (if “standard of review” is unchanged, “focus and timing of review are matters for agency

discretion, . . . well within § 553’s procedural exemption.”). Instead, the 2019 Form revisions

effected a change in the “manner in which the parties present themselves . . . to the agency,” James




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V. Hurson Assocs., Inc., 229 F.3d at 280, based on USCIS’s reasoned “judgment[s] about what

mechanics and processes are most efficient.” JEM Broad. Co., 22 F.3d at 328. Finding them

procedural also accords with the exception’s purpose “to ensure that agencies retain latitude in

organizing their internal operations.” Batterton, 648 F.2d at 707.

       Courts have repeatedly found rules similar to the one at issue here to fall within the APA’s

procedural exception. In James V. Hurson Associates, for example, the USDA had changed the

ways in which commercial food producers could seek approval of a proposed food label. 229 F.3d

at 279. The agency had previously allowed producers to do so “by mailing its application, by

personally visiting the [relevant office], or by hiring courier/expediter firms whose employees

would meet with [agency] representatives during office hours,” but the agency eliminated face-to-

face appointments without following notice and comment rulemaking. Id. The D.C. Circuit held

that the agency’s decision to eliminate face-to-face review was “the very sort of procedural

measure” that qualifies as an exception to the notice and comment requirements under this

Circuit’s precedents because the agency “did not alter the substantive criteria by which it would

approve or deny proposed labels; it simply changed the procedures it would follow in applying

those substantive standards.” Id. at 281; see also Pub. Citizen, 276 F.3d at 640 (FOIA search

cutoff policy was procedural); JEM Broad Co., 22 F.3d at 327 (rule dismissing incomplete

application without opportunity to amend was procedural); Nat’l Sec. Counselors v. CIA, 931 F.

Supp. 2d 77, 105-12 (D.D.C. 2013) (dismissing claim alleging that notice and comment procedures

were required where agency modified structure for charging fees associated with mandatory

declassification review requests). Likewise, here, USCIS’s decision to accept fee waiver requests

on a standardized form, using standardized evidence, does not alter any substantive criteria

applicable to such requests but simply changes the procedures applicants must follow to submit a




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request. And the revisions maintain applicants’ ability to demonstrate inability to pay through

evidence of financial hardship.

       Plaintiff’s allegations that there is an increased burden associated with the Form revisions

do not make them substantive. See James V. Hurson Assocs., 229 F.3d at 281 (“[A]n otherwise-

procedural rule does not become a substantive one, for notice-and-comment purposes, simply

because it imposes a burden on regulated parties.”). And its reliance on Electronic Privacy

Information Center v. U.S. Department of Homeland Security (EPIC), 653 F.3d 1 (D.C. Cir. 2011)

(finding TSA’s decision to screen passengers with advanced imaging technology instead of

magnetometers was substantive because of substantial, far-reaching effect on passengers’ liberty

interests), is misplaced. EPIC states that “a rule with a ‘substantial impact’ upon the persons

subject to it is not necessarily a substantive rule.” 653 F.3d at 5 (emphasis added). The relevant

inquiry is qualitative rather than quantitative, and the question is not simply whether a given

procedure will have a substantial impact on affected parties. Rather, the D.C. Circuit looks to

whether the change is such a novel “way” of proceeding, and with such a commensurately different

type of burden imposed, that the change is better characterized as substantive rather than

procedural. EPIC, 653 F.3d at 6. That is far from the case here, where there are no new substantive

burdens. The regulatory standard for a fee waiver—“unable to pay”—remains unchanged. What

has changed is the elimination of one of the previously accepted procedural mechanisms to

automatically demonstrate such an inability to pay. A misunderstanding of that distinction drove

the district court’s decision to enjoin the revisions in City of Seattle, 3:19-cv-7151-MMC (N.D.

Cal.); this Court should decline Plaintiff’s invitation to repeat that misstep here.

       Likewise, although Plaintiff has not adequately alleged that the Form revisions will cause

any processing delays—and, indeed, the agency explained that increasing efficiency in processing




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fee waiver requests partly motivated the changes—even the theoretical burden associated with

such delay would not make the Rule substantive because it would not constitute a “substantive

value judgment.” Pub. Citizen, 276 F.3d at 641; see also Am. Hosp. Ass’n, 834 F.2d at 1055 (“So

long as the standard of review remains unchanged, the focus and timing of review are matters for

agency discretion, falling well within § 553’s procedural exemption.”). Plaintiff and Amici’s

speculation about how the revisions might apply to unidentified third parties also “runs smack into

the ripeness doctrine.” Nat’l Multi Hous. Council v. Jackson, 539 F. Supp. 2d 425, 428 (D.D.C.

2008). With or without the 2019 Form revisions, fee waiver applicants will be assessed on their

ability to pay, “consistent with the status or benefit sought” and the unaltered regulations. 8 C.F.R.

§ 103.7(c). 11

        2. Even if the revisions are not procedural, they are still exempt from notice-and-comment

rulemaking because they do not constitute substantive rules but are, at most, “interpretive.”

Interpretive rules are “issued by an agency to advise the public of the agency’s construction of the

statutes and the rules which it administers.” Shalala v. Guernsey Mem’l Hosp., 514 U.S. 87, 99

(1995). “[A]s a general rule, an agency can declare its understanding of what a statute requires


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  Under the USCIS fee regulation, discretion in the fee waiver process is explicitly and wholly
vested in the agency in its adjudication of fee waiver requests; not only does the regulation make
no reference to vesting any discretion in the applicant, but it imposes specific requirements for
requests. Compare 8 C.F.R. § 103.7(c)(1) (imposing only two limits on USCIS’s “[d]iscretionary
waiver of fees” (emphasis added)), with id. § 103.7(c)(2) (“To request a fee waiver, a person
requesting an immigration benefit must submit a written request for permission to have their
request processed without payment of a fee with their benefit request. The request must state . . .
the reasons for his or her inability to pay, and evidence to support the reasons indicated.” (emphasis
added)). While § 103.7(c)(2) is silent as to the form of the “written request” and supporting
“evidence,” that does not mean that the agency is obligated to accept all forms of “written request.”
Nor does developing or requiring the use of Form I-912 (as the agency has done for years)
somehow contradict the regulation. On the contrary, because the regulation makes plain that the
agency’s authority to waive fees is discretionary, and because the regulation does not inhibit the
agency’s ability to determine what form “written request[s]” may take, the Form revisions are
wholly consistent with its language and purpose.




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without providing notice and comment . . . .” Fertilizer Inst. v. EPA, 935 F.2d 1303, 1308 (D.C.

Cir. 1991). “A statement seeking to interpret a statutory or regulatory term is, therefore, the

quintessential example of an interpretive rule.” Orengo Caraballo v. Reich, 11 F.3d 186, 195

(D.C. Cir. 1993). And such “an interpretive statement may ‘suppl[y] crisper and more detailed

lines than the authority being interpreted’ without losing its exemption from notice and comment

requirements under § 553.” Id. (quoting Am. Mining Congress v. Mine Safety & Health Admin.,

995 F.2d 1106, 1112 (D.C. Cir. 1993)).         The D.C. Circuit has considered four factors in

determining whether a rule is legislative or interpretive:

        (1) whether in the absence of the rule there would not be an adequate legislative
        basis for enforcement action or other agency action to confer benefits or ensure the
        performance of duties, (2) whether the agency has published the rule in the Code
        of Federal Regulations, (3) whether the agency has explicitly invoked its general
        legislative authority, [and] (4) whether the rule effectively amends a prior
        legislative rule.

Am. Mining Cong., 995 F.2d at 1112. An affirmative answer to any of these factors can render a

rule legislative. See id.

        None of these conditions applies here, where USCIS merely interpreted the terms “unable

to pay,” “written request,” and “evidence” given that the regulation does not define them. 8 C.F.R.

§ 103.7(c)(2). First, that regulation provides an adequate “legislative” basis for fee waiver

decisions by setting forth the applicable standard and basic procedure. Second, the agency did not

publish the 2019 Form revisions in the Code of Federal Regulations. Third, USCIS did not invoke

its general legislative authority when revising Form I-912. Rather, USCIS invoked existing

statutory and regulatory authority to assess and waive fees. See AR180 (regulatory authority);

AR250 (statutory and regulatory authority); 84 Fed. Reg. at 26,139 (noting lack of changes to

existing standards for fees and fee waivers). Fourth, the revisions do not amend a prior legislative

rule; they leave the regulatory standard for considering discretionary fee waivers unchanged.




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Indeed, the 2010 creation of the Form I-912 was itself an interpretive rule and was issued pursuant

to the PRA. 12 The 2019 Form revisions are no less—indeed, are even more clearly—interpretive.

They simply “describe[] the agency’s view of the meaning of [“unable to pay,” “written request,”

and “evidence” in] an existing . . . regulation.” Mendoza, 754 F.3d at 1021 (finding such a rule

interpretive).

        American Postal Workers Union v. United States Postal Service, 707 F.2d 548, 558–60

(D.C. Cir. 1983), cert. denied, 465 U.S. 1100 (1984) is instructive. There, the D.C. Circuit held

that the Office of Personnel Management’s change in method for computing annuities (i.e., its

interpretation of the term “average annual basic salary”) was not subject to § 553 rulemaking

requirements, in part, because both the old and new methods were interpretive rules. Id. at 560.

The court relied on the agency’s lack of intent to implement a legislative rule and the fact that the

rule did not “‘fill the gaps’ in a complicated regulatory scheme” to conclude the new rule was

interpretive. Id. at 559. And the court did so over the plaintiffs’ argument that the new rule’s

“conclusive[] [e]ffects [on] the retirement rights of thousands” of federal employees rendered it

legislative. Id. at 559–60. Indeed, the interpretive change “substantially reduced the expected

annuities of some 113,000 future retirees.” Id. at 549. Here, the revisions revised an, at most,

interpretive rule, were not intended as a legislative rule, and do not “fill the gaps” in a complicated

regulatory scheme. They are therefore, at most, interpretive.

        The 2019 Form revisions were not “based on something” other than the regulatory

phrase—“unable to pay,” 8 C.F.R. § 103.7(c)—that the agency sought to interpret. See NWIRP


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   See, e.g., 75 Fed. Reg. at 40,846 (providing notice that USCIS would be submitting an
“information collection request for review and clearance in accordance with the Paperwork
Reduction Act of 1995” for new Form I-912); AR14 (explaining that 8 CFR §103.7(c) governs
“the fee waiver process” and that then-new Form I-912 “outline[s] the requirements and
documentation necessary to support a [fee waiver] request”).




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Mot. 24–25. And USCIS explained that “the various income levels used in States to grant a means-

tested benefit result in inconsistent income levels being used to determine eligibility for a fee

waiver” (i.e., the previously permitted form of proof resulted in inconsistent determinations of

inability to pay). AR332. Thus, USCIS did draw a connection between the fee-waiver criteria and

applicants’ inability to pay, and Plaintiff’s reliance on National Family Planning and Reproductive

Health Association v. Sullivan, 979 F.2d 227, 238 (D.C. Cir. 1992) (finding that agency’s explicit

reliance during litigation on “a previously unacknowledged concern,” rather than “an

interpretation of the regulation’s terms,” weighed against agency’s argument that it was merely

interpreting the regulation) is misplaced. The regulation does not indicate how to distinguish fee

waiver applicants based on inability to pay, and the agency revised and clarified how to

communicate “the reasons for . . . inability to pay, and evidence to support the reasons indicated”

to the agency. 8 C.F.R. § 103.7(c). Applicants may still submit hardship-based fee waiver

requests. Plaintiff may prefer applicants be permitted to use yet a different method (or perhaps

even to use any method imaginable by an applicant), but the regulation leaves the discretion to

define that method with the agency, not the applicant.

       For all of these reasons, the Form revisions cannot be considered either a substantive or

legislative rule and are exempt from notice-and-comment rulemaking.

               2. The Form Revision Is Governed By The Paperwork Reduction Act, With
                  Which The Agency Complied.

       The applicability of the PRA is clear. The PRA was enacted to reduce the burden of

paperwork requests on the public, 44 U.S.C. § 3501(1), and governs “collection[s] of

information,” defined as “the obtaining, causing to be obtained, soliciting, or requiring the

disclosure to third parties or the public, of facts or opinions by or for an agency, regardless of

form or format.” Id. § 3502(3)(A). Form I-912 meets this definition, as made clear in the notice




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proposing the Form’s creation. 75 Fed. Reg. at 40,846.

       The PRA imposes procedural requirements for information-collection devices distinct

from the APA’s rulemaking requirements. For a proposed information-collection, the PRA

requires two notice-and-comment periods. 44 U.S.C. §§ 3506, 3507. First, the agency must

publish a Federal Register notice and allow 60 days for comment. Id. § 3506(c)(2)(A). After

considering the comments, the agency submits its information-collection request to the OMB

Director for review. Id. § 3507(c)(3). OMB, with certain exceptions, then reviews the proposed

collection concurrent with an additional 30-day comment period, and, if warranted, approves the

proposed information collection for a period up to three years. Id. §§ 3507, 3508.

       USCIS complied with the PRA, and Plaintiff’s arguments to the contrary, in addition to

lacking a private right of action as discussed above, see supra Part I.D, prove meritless. Plaintiff

tellingly cites no precedent to support its assertions under the Act and its implementing regulations.

This is unsurprising, given the lack of a private right of action. Even if this Court had jurisdiction

over this claim, though, USCIS more than satisfied the Act’s requirements. USCIS satisfied the

publication and comment requirements in revising the Form I-912. See, e.g., AR179 (publication

of proposed revision to Form I-912 and invitation to comment on proposed revisions during 60-

day period); see also 83 Fed. Reg. 49,120. The agency then evaluated the comments received and

created a “supporting statement” justifying the new burden and the legal rationale for the new

questions to be asked using the elements outlined in 44 U.S.C. § 3506(c). AR450–60. USCIS

responded to the public comments in the supporting statement and submitted the proposed

revisions to OMB “for review and clearance in accordance with the [PRA],” along with an

additional period for public comment. 84 Fed. Reg. at 13,687, 26,138. Although it was not

required to, on June 5, 2019, USCIS published yet a third notice in the Federal Register to invite




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additional public comments for a third period of 30 days. 84 Fed. Reg. 26,137. OIRA approved

the changes to Form I-912 on October 24, 2019 and assigned it a control number which was clearly

displayed on the form and instructions. AR461–63. USCIS’s revisions to the Form complied with

the PRA.

       B. The Revised Form Is Not Arbitrary And Capricious.

       Even if the Court were to find that the Form revisions fall under the APA, Plaintiff’s claim

that the revisions are arbitrary and capricious is meritless and their motion for summary judgment

should be denied.

       The APA does not permit the Court to set aside the Form revisions simply because Plaintiff

would have preferred a different outcome. Rather, this Court may invalidate the revisions only if

it concludes that the action was “arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with the law.” 5 U.S.C. § 706(2)(A). Agency action is not arbitrary and capricious

unless the agency has “relied on factors which Congress had not intended it to consider, entirely

failed to consider an important aspect of the problem, offered an explanation for its decision that

runs counter to the evidence before the agency, or is so implausible that it could not be ascribed to

a difference in view or the product of agency expertise.” Nat’l Ass’n of Home Builders v. Defs. of

Wildlife (NAHB), 551 U.S. 644, 658 (2007). A court’s review is “narrow,” however, limited to

determining whether the agency “examine[d] the relevant data and articulate[d] a satisfactory

explanation for its action including a rational connection between the facts found and the choice

made.” Ark Initiative v. Tidwell, 816 F.3d 119, 127 (D.C. Cir. 2016) (quoting Motor Vehicle Mfrs.

Ass’n v. State Farm, 463 U.S. 29, 43 (1983)). The Court “is not to substitute its judgment for that

of the agency,” and ultimately, the question before the Court is whether the agency’s decision “was

the product of reasoned decisionmaking.” State Farm, 463 U.S. at 43, 52.




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       Indeed courts “‘presume the validity’ of the agency’s action,” which a plaintiff “can

overcome only by demonstrating that the [action] constitutes a ‘clear error of judgment.’” Grid

Radio v. FCC, 278 F.3d 1314, 1322 (D.C. Cir. 2002) (citations omitted). The standard “usually

boils down to the question of whether the agency action at issue was ‘reasonable and reasonably

explained.’” Stovic v. R.R. Ret. Bd., 826 F.3d 500, 506 (D.C. Cir. 2016) (quoting Cmtys. for a

Better Env’t v. EPA, 748 F.3d 333, 335 (D.C. Cir. 2014)). Notably, where an agency “is expressly

delegated the authority to grant [an] exemption and is required to make certain other

determinations in order to do so . . . those determinations . . . are . . . entitled to great deference

under the ‘arbitrary and capricious standard.’” AFL-CIO v. Donovan, 757 F.2d 330, 343 (D.C.

Cir. 1985). In other words, Plaintiff’s burden is substantial.

       Moreover, as relevant here, “there is no requirement that [an] agency’s change in policy

clear any ‘heightened standard.’” Home Care Ass’n of Am. v. Weil, 799 F.3d 1084, 1094 (D.C.

Cir. 2015) (quoting FCC v. Fox Television Stations, Inc., 556 U.S. 502, 514 (2009)). Instead, as

with any other agency action, the question is simply whether the change in policy “rest[s] on a

‘reasoned explanation.’” Id. (quoting Fox, 556 U.S. at 515). That explanation ordinarily should

“display awareness that [the agency] is changing position,” but “the APA imposes no special

burden when an agency elects to change course.” Id. at 1094-95.

       Plaintiff asserts three classes of arguments that the Form revisions are “arbitrary [and]

capricious” under 5 U.S.C. § 706(2)(A):          (1) that USCIS provided shifting or inadequate

justifications; (2) that USCIS ignored important factors while crediting inappropriate ones; and

(3) that USCIS overlooked certain alternatives. NWIRP Mot. 26–38. None proves availing,

though, because USCIS’s challenged actions satisfy arbitrary and capricious review’s low bar.

       First, Plaintiff argues “USCIS relied on shifting, illogical, and unsupported justifications.”




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Id. at 27–32. Notwithstanding Plaintiff’s attempts to muddy the record, the fact remains that

USCIS stated two primary reasons for the Form revisions: (1) absent the revisions, USCIS would

“continue to forgo increasing amounts of revenue as more fees are waived” which would in turn

require the agency “to increase the fees that it charges for benefit requests for which fees are not

waived,” AR331; and (2) “USCIS has found that the various income levels used in states to grant

a means-tested benefit result in inconsistent income levels being used to determine eligibility for

a fee waiver,” and the agency was seeking “to introduce more consistent criteria for approving all

fee waivers,” AR332. USCIS also elaborated on each reason. As to the first, as USCIS reported

in the June 5, 2019 notice, “the estimated annual forgone revenue from fee waivers and exemptions

has increased markedly,” and the revisions are intended “to curtail[] the rising costs of fee

waivers.” Id. And as to the second, USCIS explained that accepting receipt of a means-tested

benefit as per se evidence of inability to pay yielded a situation in which “a fee waiver may be

granted for one person who has a certain level of income in one state, but denied for a person with

that same income who lives in another state.” Id. 13

       USCIS also justified requiring tax transcripts for income-based fee waiver requests:

       USCIS cannot accept incomplete copies of tax returns or copies that are not signed
       or submitted to the IRS to support fee waiver requests, because such a lax standard
       would encourage fraud in the fee waiver process. Therefore, USCIS believes that
       requiring transcripts will reduce the number of fee waiver request rejections.

13
   Plaintiff does not dispute USCIS’s finding that relying on proof of receipt of a means-tested
benefit resulted in inconsistent outcomes across the Nation. And its quarrel with USCIS’s choice
between (perhaps imperfect) options is not sufficient to overcome the deference due to USCIS’s
decision. Further, Plaintiffs offer no reason why the United States, when determining eligibility
for a discretionary federal benefit, should have to rely on programs administered by and at the
discretion of the fifty States. Finally, reliance on an income threshold tied to the FPG in
determining benefit eligibility is eminently reasonable; in fact, that is a primary purpose of the
FPG. See, e.g., Annual Updates of the HHS Poverty Guidelines, 84 Fed. Reg. 1167-02, 1168
(Feb. 1, 2019) (explaining that the FPG are “a simplified version of the poverty thresholds that the
Census Bureau uses to prepare its estimates of the number of individuals and families in poverty”
and “are used as an eligibility criterion by Medicaid and a number of other Federal programs”).




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        USCIS believes the change will reduce the number of fee waiver requests that are
        rejected because of improper documentation . . . .

AR321; see also AR403. And it explained why requiring fee waiver requests be submitted on a

standardized Form would reduce the agency’s burden processing requests by promoting

uniformity. AR242–49, 452.

        These explanations are “reasonable and reasonably explained.” Stovic, 826 F.3d at 506

(quoting Cmtys. for a Better Env’t, 748 F.3d at 335), and allow “the agency’s path [to] reasonably

be discerned,” Alaska Dep’t of Envtl. Conservation v. EPA, 540 U.S. 461, 497 (2004). That

judgment is entitled to deference “especially . . . when the agency is called upon to weigh the costs

and benefits of alternative policies.” Consumer Elecs. Ass’n v. FCC, 347 F.3d 291, 303 (D.C. Cir.

2003) (quotations and citations omitted). Such explanations also overcome Amici’s assertions that

the revisions have no discernable benefit or contradict their stated purpose. Amici Curiae Br. 16–

18. At bottom, Plaintiff fails to identify a sufficient basis to overcome the deference owed the

agency’s choice among types of evidence it could accept from applicants seeking to demonstrate

inability to pay.

        Plaintiff also argues that USCIS did not “explain” why the 150% of the FPG income

threshold and hardship standard “suffice as stand-ins for an individual’s inability to pay USCIS

fees.” NWIRP Mot. 31. However, any challenge to the reasonableness of using that threshold for

demonstrating inability to pay is time-barred. Where, as here, no other statute provides a

limitations period, a plaintiff has six years to bring a civil action against the United States. 28

U.S.C. § 2401. The 150% of FPG income threshold has been in place since at least November

2010, when the Form I-912 first took effect. See AR32–42. To the extent Plaintiff challenges

USCIS’s exclusive reliance on this threshold for income-based fee waivers rather than providing

fee waiver applicants with the choice of demonstrating receipt of a means-tested benefit or




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demonstrating income at or below 150% of the FPG, Plaintiff’s challenge collapses into its

argument that eliminating receipt of a means-tested benefit as per se evidence of inability to pay

is arbitrary and capricious, which fails for the reasons explained above.

       Plaintiff further challenges as unexplained USCIS’s decision to require each individual

request a fee waiver, rather than grouping requests from members of the same family. E.g.,

NWIRP Mot. 32; see also Amici Curiae Br. 19–20. USCIS received public comments that

requiring each person to submit a form would be burdensome and unnecessary. The agency

acknowledged that such a requirement would increase the burden for households with several

members requesting fee waivers at the same time, but cited USCIS data that over 90 percent of

Form I-912 filings were for one person. AR247, 317, 400. Thus, the actual impact of this change

will be limited. USCIS further explained that the change was intended to reduce the number of

fee waiver requests that are rejected because of improper documentation, inadequate information,

and missing signatures from household members. Id. The agency’s judgment that these benefits

outweigh the small added burden was therefore both well-explained and well within its discretion.

       Second, Plaintiff argues “USCIS ignored important factors, while crediting inappropriate

ones.” NWIRP Mot. 32–37. Plaintiff focuses on three factors: individual applicants’ financial

circumstances, the proposed changes’ alleged harms, and the “changing regulatory environment,”

including the November 2019 NPRM. The record, however, demonstrates the agency did consider

these factors; it merely weighed them differently from how Plaintiff would have preferred.

       The agency’s focus on individual applicants’ financial circumstances necessarily follows

from its consideration of and finding that accepting proof of receipt of means-tested benefit was

resulting in inconsistent determinations on fee waiver requests from individuals with the same

income. Moreover, deciding to use 150% of the FPG as the measure for inability to pay also




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reflects consideration of applicants’ financial circumstances, as discussed above. USCIS did not

change the applicable regulation or standard for reviewing fee waiver requests: inability to pay.

       Plaintiff’s assertion that the agency neglected to “grappl[e] with” comments alleging harms

that would flow from the proposed changes is simply false. NWIRP Mot. 33–34. An agency

“need not address every comment, but it must respond in a reasoned manner to those that raise

significant problems.” City of Waukesha v. EPA, 320 F.3d 228, 257 (D.C. Cir. 2003). Here, the

record demonstrates that USCIS considered and thoroughly responded to the significant objections

raised in comments to the proposed Form revisions. Those explanations are entitled to special

deference. See Consumer Elecs. Ass’n, 347 F.3d at 303. Moreover, just because a party predicts

a policy will prove more burdensome does not make it arbitrary and capricious; indeed, the

speculative nature of such an argument “runs smack into the ripeness doctrine.” Nat’l Multi Hous.

Council, 539 F. Supp. 2d at 428. USCIS considered the small increase in burden and, in its

discretion, found the Form revisions’ benefits outweighed the predicted costs. E.g., AR246.

       Lastly, Plaintiff’s claim that the agency ignored the “changing regulatory environment” as

an important factor, including the November 2019 NPRM, NWIRP Mot. 35–36; see supra Note

4, is misleading for two reasons. First, because the agency’s consideration of the challenged Form

revisions was complete when it submitted to OMB in June 2019, it was not required to consider a

possible future rulemaking’s impact—especially one that would not be published for public

comment for over five months—before that submission. See Camp v. Pitts, 411 U.S. 138, 142

(1973). And second, the NPRM set forth proposals for comprehensive reforms to various aspects

of applications and immigration benefits administered by USCIS, none of which is certain to occur,

and of which fee waiver requests are one small part. USCIS was losing hundreds of millions of

dollars each year to fee waivers and it decided not to wait for a more comprehensive fee rulemaking




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while it continued to “forgo increasing amounts of revenue as more fees are waived.” 84 Fed.

Reg. 26,138; AR330. The agency need not have revealed and grappled with the possibility of a

future rulemaking as part of its lawful Form revisions.

       Plaintiff also objects to USCIS considering the volume of fees waived, arguing it is

irrelevant to interpreting the phrase “unable to pay.” NWIRP Mot. 36. But the authorizing statute

and regulation make recouping the agency’s expenses the key factor in determining whether and

how to grant discretionary fee waivers. USCIS was therefore entitled to give that factor particular

weight. 14 Indeed, it would have been irresponsible for the agency, which relies on fees collected,

not to consider the growing waivers’ impacts on its ability to provide services to applicants. Even

if the Court doubts that USCIS’s conclusions necessarily follow from the facts found, the Court

“should ‘uphold a decision of less than ideal clarity if the agency’s path may reasonably be

discerned.’” Fox, 556 U.S. at 513–14 (2009) (quoting Bowman Transp., Inc. v. Ark.-Best Freight

Sys., Inc., 419 U.S. 281, 286 (1974)). Because USCIS’s “decision was based on a consideration

of the relevant factors and the record reflects no “clear error of judgment,” the Court should find

the Form revisions lawful. Ctr. for Auto Safety v. Peck, 751 F.2d 1336, 1342 (D.C. Cir. 1985). 15


14
  Plaintiff’s argument that the agency was also not permitted to consider “the strong desire of
commenters for [USCIS] to retain the means tested benefit policy” as evidence that “means tested
benefits are too easy to obtain for them to be good indicators of true inability to pay a USCIS fee,”
NWIRP Mot. 37, is misguided. The usefulness to the agency of a type of evidence (receipt of
means-tested benefits) in demonstrating “true inability to pay” is precisely the type of
consideration the fee waiver statute and regulations consign to the agency’s discretion. Nothing
about the agency’s actions “conflict[ed] with Congress’s instruction that agencies should seek and
use public input.” Id. On the contrary, USCIS did just that more times than was required by the
PRA APA. See supra Part II.A.2.
15
   Amici (but not Plaintiff) similarly argue the agency “ignore[d] geographic disparities in cost of
living” when it eliminated use of means-tested benefits evidence as per se evidence of inability to
pay. See Amici Curiae Br. 13–14. First, any argument presented by Amici that Plaintiff did not
submit is not properly before the Court. But more importantly, as explained above, USCIS’s
decision to rely on the FPG was reasonable and necessarily considered geographic disparities. See




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       Third, Plaintiff argues that “USCIS failed to consider significant, viable, and obvious

alternatives.” NWIRP Mot. 37–38. Plaintiff now posits alternatives it wishes USCIS had more

explicitly considered but tellingly provides no evidence that public commenters put these

alternatives to the agency. See id.; see also Appalachian Power Co. v. EPA, 251 F.3d 1026, 1036

(D.C. Cir. 2001) (“It is black-letter administrative law that ‘[a]bsent special circumstances, a party

must initially present its comments to the agency during the rulemaking in order for the court to

consider the issue.’” (quoting Tex Tin Corp. v. EPA, 935 F.2d 1321, 1323 (D.C. Cir. 1991)

(alterations in original)). Indeed, NWIRP itself neglected to raise these “obvious” alternatives,

NWIRP Mot. 37, in its own comments to the agency. See AR1139, 2793–97, 2935–41, 3302–12,

5942–44 (NWIRP and its former staff’s submissions).

       Plaintiff’s arguments based on alternatives missing from the public comments are waived.

See Appalachian Power Co., 251 F.3d at 1036. Moreover, the administrative record belies

Plaintiff’s arguments as to many alternatives. On the contrary, USCIS engaged in a process that

considered alternative proposals and explained its rationale for rejecting or accepting the different

options based on the evidence before it.

       For example, the Form revisions do allow individuals to submit income documentation

other than tax transcripts in support of a request based on financial hardship, where the adjudicator

looks at the totality of circumstances. AR326. Others of Plaintiff’s newly minted alternatives

plainly would prove counterproductive to the agency’s (and Plaintiff’s own) interests. “[U]sing

requests-for-evidence to address deficiencies in specific applications,” NWIRP Mot. 37, would




supra Note 13. Any argument that an approach the agency considered and reasonably rejected
makes more sense than the one it eventually chose does not overcome the deference owed to
agencies’ weighing of and choices between alternate policies. Consumer Elecs. Ass’n, 347 F.3d
at 303; see also Ctr. for Auto Safety, 751 F.2d at 1342.




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increase the agency’s workload and require an attendant increase in fees to cover those costs.

Additionally, since there is no appealing a fee waiver denial, deficient fee waiver requests are

already returned with an explanation and without prejudice for resubmission.                 Plaintiff’s

alternatives requiring research and monitoring of the myriad means-tested benefit programs across

the Nation would increase agency costs and, ultimately, fees for paying applicants. The agency is

not required to consider every alternative imaginable, including ones raised for the first time in

litigation; all that is required is that the agency consider the important issues and provide a rational

explanation for its decision. State Farm, 463 U.S. at 43. That happened here.

        At bottom, Plaintiff and USCIS clearly have “a difference in view” about the manner in

which applicants for fee waivers should be permitted to demonstrate inability to pay. NAHB, 551

U.S. at 658. That disagreement, however, does not satisfy the Plaintiff’s burden to demonstrate

that the agency’s conclusions were “contrary to the evidence before it,” Walter O. Boswell Mem’l

Hosp. v. Heckler, 749 F.2d 788, 803 (D.C. Cir. 1984), or a “clear error of judgment,” Citizens to

Pres. Overton Park, Inc. v. Volpe, 401 U.S. 402, 416 (1971), abrogated on other grounds by

Califano v. Sanders, 430 U.S. 99 (1977). Accordingly, Defendant is entitled to summary judgment

and Plaintiff’s motion for summary judgment should be denied.

III.    The Court Should Not Grant a Nationwide Injunction.

        Were the Court to order an injunction here, it should be limited to redressing only any

established injuries to Plaintiff. See Gill v. Whitford, 138 S. Ct. 1916, 1933 (2018) (“The Court’s

constitutionally prescribed role is to vindicate the individual rights of the people appearing before

it.”); see generally Dep’t of Homeland Sec. v. New York, 140 S. Ct. 599, 600 (2020) (Gorsuch, J.,

concurring in the grant of stay) (detailing the costs of injunctions that “direct how the defendant

must act toward persons who are not parties to the case”). Equitable principles require that an




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injunction “be no more burdensome to the defendant than necessary to provide complete relief to

the plaintiffs.” Madsen v. Women’s Health Ctr., Inc., 512 U.S. 753, 765 (1994). Nationwide

injunctions, however, often afford relief not only to persons who are not parties to a case, but even

to those who would not have had standing to seek an injunction in the first place. They also short-

circuit the dialogue among lower courts, whose decisions ordinarily do not bind one another

pending review by the Supreme Court, as this litigation over the 2019 Form revisions itself

highlights. Nationwide injunctions also undermine other legal rules and mechanisms (e.g., class

actions and the principle that legal issues involving the federal government should be subject to

re-litigation in different circuits). Indeed, the presence of a nationwide injunction in this matter

reinforces these very harms. See Part I.A.1, supra.

       Additionally, vacating the 2019 Form revisions in their entirety would be inappropriate.

Although § 706 provides that an unlawful agency action be “set aside,” it does not provide that

such action be set aside facially, as opposed to solely with respect to those applications that actually

injure plaintiff. Accordingly, § 706 is not properly construed to displace the general rule that

equitable remedies—including vacatur of agency rules under the APA, see 5 U.S.C. § 703—may

go no further than necessary to redress plaintiff’s own injury. See Weinberger v. Romero-Barcelo,

456 U.S. 305, 313 (1982) (“[W]e do not lightly assume that Congress has intended to depart from

established [equitable] principles.”). So, to the extent that any part of the 2019 Form revisions is

found lawful (e.g., if the requirement to use Form I-912 for fee waiver requests or to submit one

Form per person requesting a waiver is neither substantive nor arbitrary and capricious), it would

be inappropriate to enjoin or set aside that part.

       In other words, even if the Court finds any part of the 2019 Form revisions unlawful, it

should limit any relief to redressing only any injury in fact established by this Plaintiff. Given the




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nationwide injunction, the procedural posture of the other challenges, and the November 2019

NPRM, the relief Plaintiff seeks must come in the form of either an advisory opinion or duplicate

nationwide injunction.      This Court should countenance neither.           Instead, the Government

respectfully suggests that remand to the agency, which is already effectively underway, constitutes

the greatest extent of relief this Court should afford Plaintiff to the extent it prevails.

                                           CONCLUSION

        For reasons stated, the Court should dismiss this case for Plaintiff’s lack of standing. It should

also dismiss Plaintiff’s claims against the Policy Manual revisions for lack of final agency action and

under the PRA because that statute lacks a right of action. In the alternative, the Court should deny

Plaintiff’s motion for summary judgment and grant Defendant’s cross-motion for summary judgment.

Dated: February 18, 2020                                Respectfully submitted,

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